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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                                       )
RICHARD L. JOHNSON,                                          )        Case No. 18-40432
          Debtor.                                            )

                         MOTION TO DISCHARGE BANKRUPTCY

       NOW COMES Debtor, Richard Johnson, by and through his attorney, The Law Office
of Bradley P. Olson, and his motion, states as follows:
       1.      That on May 15, 2018 Debtor filed a Chapter 13 bankruptcy in the above
captioned case.
       2.      That all payments have been made pursuant to Chapter 13 plan and Trustee
having filed a Report of Plan Completion.
       3.      That the Debtor does not owe any domestic support obligations.
       4.      That the Debtor has completed the instructional course concerning personal
financial management and filed same with the Court.
       5.      That the Debtor has not obtained a Chapter 7 bankruptcy discharge during the
four years prior to filing the aforementioned bankruptcy nor a Chapter 13 bankruptcy discharge
during the two years prior to filing the aforementioned bankruptcy.
       6.      That Section 522(q)(1) is not application in this matter.
       WHEREFORE, Debtor, Richard Johnson, prays that the Honorable Court discharge his
Chapter 13 bankruptcy.

                                                     Respectfully Submitted,



                                                     /s/ Bradley Olson
                                                     Bradley P. Olson




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                                CERTIFICATE OF SERVICE

       The undersigned certifies that copies of the foregoing was served upon the following:

       Russell Simon
       Chapter 13 Trustee

       U.S. Trustee
       401 Main St
       1100 Becker Building
       Peoria, IL 61602

       All creditors listed on Debtor’ matrix who are served electronically

       on the 19th day of May 2022 by electronic mail and to
       All creditors listed on Debtor’ matrix and who are not served electronically
        on the 19th day of May 2022 by enclosing same in properly addressed envelopes, with
sufficient postage fully prepaid, and by depositing said envelope in a United States Post Office
mail box in Marion, Illinois.

                                                     /s/ Lori Walters
                                                     Lori Walters
